      Case 22-40441-can13                           Doc 7          Filed 04/18/22 Entered 04/18/22 12:22:42                                      Desc Ch 13
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Information to identify the case:

                       Jacqueline Gyna Prelow                                                 Social Security number or ITIN:      xxx−xx−2425
Debtor 1:
                                                                                              EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                     Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Western District of Missouri                                  Date case filed for chapter:            13      4/18/22

Case number:          22−40441−can13

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                         02/22


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              Jacqueline Gyna Prelow

2. All other names used in the
   last 8 years
                                                   aka Jackie G Prelow

                                                   9109 Manchester Avenue
3. Address                                         Kansas City, MO 64138
                                                   Neil S Sader                                                         Contact phone 816−561−1818
4. Debtor's  attorney
   Name and address
                                                   The Sader Law Firm, LLC
                                                   2345 Grand Boulevard, Suite 2150                                     Email: nsader@saderlawfirm.com
                                                   Kansas City, MO 64108−2663

5. Bankruptcy trustee                              Richard Fink                                                          Contact phone 816−842−1031
     Name and address                              Suite 1200
                                                   2345 Grand Blvd.                                                      Email: info@wdmo13.com
                                                   Kansas City, MO 64108−2663

6. Bankruptcy clerk's office                                                                                             Hours open:
     Documents in this case may be filed           U.S. Bankruptcy Court                                                 9:00 am − 4:30 pm
     at this address.                              Charles Evans Whittaker Courthouse
     You may inspect all records filed in          400 East 9th Street, Room 1510                                        Contact phone 816−512−1800
     this case at this office or online at         Kansas City, MO 64106
      www.pacer.gov.
                                                                                                                         Date: 4/18/22
                                                                                                                                 For more information, see page 2




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Debtor Jacqueline Gyna Prelow                                                                                                                  Case number 22−40441−can13

7. Meeting of creditors                                                                                                   Location:
   Debtors must attend the meeting        May 24, 2022 at 09:00 AM                                                        BY PHONE w/ R.Fink(1), 1−866−421−8737,
   to be questioned under oath. In a                                                                                      Code: 4239461
   joint case, both spouses must
   attend.                                The meeting may be continued or adjourned to a later date.
   Creditors may attend, but are not      If so, the date will be on the court docket.
   required to do so.
8. Deadlines                               Deadline to file a complaint to challenge                                            Filing deadline: 7/25/22
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for holders(s) of a claim secured by a                                      Filing deadline: 6/27/22
                                           security interest in the debtor(s)' principal
                                           residence (Rule 3002(c)(7)(A)):
                                           Deadline for all creditors to file a Proof of Claim                                  Filing deadline: 6/27/22
                                           (except governmental units and holders of a claim
                                           that is secured by a security interest in the
                                           debtor(s)' principal residence):
                                           Deadline for governmental units to file a Proof of                                   Filing deadline: 10/17/22
                                           Claim (except as otherwise provided in Fed. R.
                                           Bankr. P. 3002(c)(1)):


                                           Filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. To file a proof of claim electronically click on the ePOC link:
                                           ePOC−Electronic Proof of Claim or go to https://www.mow.uscourts.gov/bankruptcy/creditors/epoc−ereaf−erqn
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a proof of claim even if
                                           your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of claim submits the
                                           creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who files
                                           a proof of claim may surrender important nonmonetary rights, including the right to a jury trial.



                                           Deadline to object to exemptions:                                                    Filing deadline:        30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                           conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                            meeting of creditors
                                           may file an objection.

9. Objections to plan                      Objections to the confirmation must be filed within 21 days after conclusion of the 341 meeting. The Court will
                                           set a confirmation hearing only upon the filing of a timely objection to confirmation, or a response is filed to the
                                           trustee's motion to deny confirmation. The plan may be confirmed without a hearing or reviewing any evidence
                                           absent timely objections
10. Creditors with a foreign                If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                 extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.
11. Filing a chapter 13                     Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                         according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                            plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                            the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                            debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                            court orders otherwise.
12. Exempt property                         The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                            exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                            the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                      Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a
                                            debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                            under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                            debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                            discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                            bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                            of any of their debts under 11 U.S.C. § 1328(f), you must file a motion. The bankruptcy clerk's office
                                            must receive the objection by the deadline to object to exemptions in line 8.




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